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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,
Plaintiff,
v. : Case No. 17-01151 GMS
WILLIAM SCHELL, IV, DOMINICK JURY TRIAL

DAFFNER, WORLD CHAMPIONSHIP : DEMANDED

PUNKIN’ CHUNKIN’ INC., PUNKIN’ :

CHUNKIN ASSOCIATION, FRANK PEYTON :

FRANK SHADE, TERRY BEWSTER, DAVID :

QUIGLEY, McCULLEY, EASTHAM &

ASSOCIATES, INC. WHEATLEY

FARMS, INC., E. DALE WHEATLEY

JEFFREY T. WHEATLEY,

DISCOVERY COMMUNICATIONS, INC,

STATE OF DELAWARE and STATE OF

DELAWARE DEPARTMENT OF NATURAL

_ RESOURCES AND ENVIRONMENTAL
CONTROL,

Defendants.

ANSWER AND NEW MATTER OF DEFENDANT VIVIAN LEVERING ,
Defendant, McCulley Eastham & Associates, Inc. (“MCA”), by and through its attorneys,

Salmon, Ricchezza, Singer & Turchi, LLP, hereby responds to Plaintist Complaint as follows:

l. ‘The Complaint is a Writing, the contents of Which speak for themselves lt is
denied that plaintiff is entitled to any relief from Answering Defendant on any of the claims
alleged

2. Admitted on information and belief.

3. Admitted on information and belief that Ms. Dakessian attended the 20161World
Championship Punkin’ Chunkin’ competition in Bridgeville, Delaware as a member of the media

documenting the event for a television-media production company. As to the extent of her

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injury, after reasonable investigation, Answering Defendant is unable to form a belief as to the
truth of these allegations

4. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

5. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations
ii 6. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

7. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

8. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

9. ' After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

10. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

ll. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

12. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

131 Admitted on information and belief

l4. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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15 . After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

16. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

l7. After reasonable investigation, Answeringl)efendant is unable to form a belief as
to the truth of these allegations

18. Admitted on information and belief.

19. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

20. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

21. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

22. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

23. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

24. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

25. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

26. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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27. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

28. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

29. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

30. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

31 . After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

32. Admitted.

33. Denied.

34. Denied.

35. The allegations of this paragraph are conclusions of law to Which no response is

necessary. To the extent that this paragraph is deemed to contain factual averments to Which a
response is required, the same are denied. lt is specifically denied that MCA transacts business
in Delaware.

36. Admitted.

37. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations
38. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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39. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

40. Admitted on information and belief.

41. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

42. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

43. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

44. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

45. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

46. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

47. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations 1

48. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

49. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

50. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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51. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

152. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

53. Admitted on information and belief.

54. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

55. Admitted that the State of Delaware is a state within the United States of
America.

56. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

57. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

‘ 58. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

59. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

60. After reasonable investigation, Answering Defendant is unable to form a belief as
~ to the truth of these allegations

JURISDICTION AND VENUE

61. The allegations of this paragraph are conclusions of law to which no response is

necessary. To the extent that this paragraph is deemed to contain factual averments to Which a

response is required, the same are denied.

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62. The allegations of this paragraph are conclusions of law to which no response is
necessary. lt is admitted that venue would be proper in this District if jurisdiction is established.
To the extent that this paragraph is deemed to contain other factual averments to which a
response is required, the same are denied.

63. The allegations of this paragraph are conclusions of law to which no response is
necessary. lt is admitted that jurisdiction over MEA is proper in this action only. To the extent
that this paragraph is deemed to contain other factual averments to which a response is required,
the same are denied.

64. The allegations of this paragraph are conclusions of law to which no response is
necessary. lt is admitted that jurisdiction over MEA is proper in this action only. To the extent
that this paragraph is deemed to contain other factual averments to which a response is required,
the same are denied.

65. The allegations of this paragraph are conclusions of law to which no response is
necessary. lt is admitted that jurisdiction over MEA is proper in this action only. To the extent
that this paragraph is deemed to contain other factual averments to which a response is required,
the same are denied.

66. Denied as to MEA. After reasonable investigation, Answering Defendant is
unable to form a belief as to the truth of these allegations as to the other defendants

67. Denied as to MEA. lt is admitted that jurisdiction over MEA is proper in this
action only. After reasonable investigation, Answering Defendant is unable to form a belief as to

the truth of these allegations as to the other defendants

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68. Denied as to MEA. lt is admitted that jurisdiction over MEA is proper in this
action only. After reasonable investigation, Answering Defendant is unable to form a belief as to
the truth of these allegations as to the other defendants

69. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied v

70. Denied as to MEA. lt is admitted that jurisdiction over MEA is proper in this
action only. After reasonable investigation, Answering Defendant is unable to form a belief as to
the truth of these allegations as to the other defendants

71. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied.

FACTUAL BACKGROUND

72. Admitted on information and belief.

73. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

74. After reasonable investigation, Answering Defendant is unable to form a belief as
lto‘the truth of these allegations

75. lt is admitted that MEA donated to the event. After reasonable investigation,
Answering Defendant is unable to form a belief as to the truth of the remainder of these
allegations

76. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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z

77. Admitted on information and belief.

78. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

79. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

80. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

81. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

82. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

83. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

84. Denied. lt is specifically denied that MEA was a member of a security committee
of WCPC or that it led a security committee of WCPC.

85. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

86. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

87. Denied as stated. MEA does not have any “rules” and does not have an “event
rulebook.” After reasonable investigation, Answering Defendant is unable to form a belief as to

the truth of these allegations

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88. Denied as stated MEA does not have any “rules” and does not have an “event
rulebook.” After reasonable investigation, Answering Defendant is unable to form a belief as to
the truth of these allegations

89. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

90. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

91. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

92. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

93. Admitted on information and belief.

94. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

95. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

96. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

97. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

98. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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99. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

100. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

101. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

102. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

103. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

104. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

105. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

106. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

Q)Q`ll
§ § egligence[
Against Defendants William Schell and Dominic Daffner

107. This paragraph does not contain any allegations to which a response is required

108. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after

reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

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109. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

llO. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to Which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

lll. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

112. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

COUNT II
(Strict Liabilitv for UltrahaM

Against Defendants William Schell, Dominic Daffner, Wheatley Farms, Inc., E. Dale

Wheatley, Jeffrey T. Wheatley, Punkin Chunkin Association, World Championship

Punkin’ Chunkin’ Inc., rank Peyton, Frank Shade, Terry Brewster, David Quigley,

McCulley Eastham and Associates, Inc. and Discovery Communications, Inc.

113. This paragraph does not contain any allegations to which a response is required

114. The allegations of this paragraph are conclusions of law to which no response is

necessary. To the extent that this paragraph is deemed to contain factual averments to which a

response is required, the same are denied

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115. -The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied

ll6. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied

COUNT III
(§egligence Per Se)
Against Defendants William Schell and Dominic Daffner

117. Thisl paragraph does not contain any allegations to which a response is required

118. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

119. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

120. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

121. The allegations of this paragraph are not directed to Answering Defendant. To

the extent that there are factual allegations to which Answering Defendant must respond, after

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reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations
122. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations
COUNT IV

(§egligence/Premises Liability)
Against Defendants Wheatley Farms, Inc., E. Dale Wheatley and .Ieffrey T.

Wheatley

123. This paragraph does not contain any allegations to which a response is required

124. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

125. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

126. ` The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

127. The allegations of this paragraph are not directed to Answering Defendant. To

the extent that there are factual allegations to which Answering Defendant must respond, after

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reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

128. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

129. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

130. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

131. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

132. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

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133. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond, after
reasonable investigation, Answering l)efendant is unable to form a belief as to the truth of these
allegations

134. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

135. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

136. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

137. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

d 138. The allegations of this paragraph are not directed to Answering Defendant. To

the extent that there are factual allegations to which Answering Defendant must respond after

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reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

COUNT V

(N_egthM)
Against Defendants Punkin’ Chunkin’ Association, World Championship Punkin’

Chunkin’ Inc., Frank Peyton, Frank Shate, Terry Brewster, David Quigley and McCulley,
Eastham and Associates, Inc.

139. This paragraph does not contain any allegations to which a response is required

140. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required the same are denied lt is specifically denied that MEA owed any duty to
plaintiff .

141 .- The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required the same are denied lt is specifically denied that MEA owed any duty to
plaintiff Therefore, it is denied that any duty owed by MEA was breached

142. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied lt is specifically denied that MEA owed any duty to
plaintiff

143. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required, the same are denied lt is specifically denied that MEA acted in any willful,

wanton manner or with any disregard for the health and safety of invitees to their premises

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l44. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required the same are denied

COUNT VI
(Mgligence - Failurc to Adeql_latelv Inspect (Restatement (Second) of Torts 8324A))
Against Defendants Punkin’ Chunkin’ Association, World Championship Punkin’
Chunkin’ Inc., Frank Peyton, Frank Shate, Terry Brewster, David Quigley and
McCulley, Eastham and Associates, Inc.

145. This paragraph does not contain any allegations to which a response is required

146. lt is specifically denied that MEA inspected the equipment at issue immediately
before the incident at issue. After reasonable investigation, Answering Defendant is unable to
form a belief as to the truth of the remainder of these allegations

147. lt is specifically denied that MEA had any responsibility or obligation to inspect
the equipment at issue or that it did inspect the equipment at issue immediately before the
incident. After reasonable investigation, Answering Defendant is unable to form_ a belief as to
the truth of the remainder of these allegations

148. lt is specifically denied that MEA had any responsibility or obligation to inspect
the equipment at issue immediately before the incident After' reasonable investigation,
Answering Defendant is unable to form a belief as to the truth of the remainder of these
allegations

149. It is specifically denied that MEA had any responsibility or obligation to inspect
the equipment at issue immediately before the incident. After reasonable investigation,

Answering Defendant is unable to form a belief as to the truth of the remainder of these

allegations

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150. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a

response is required, the same are denied

COUNT VII
( § egligence)
Against Defendant Discovery Communications, Inc.
151. This paragraph does not contain any allegations to which a response is required
152. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation,.AnsWering Defendant is unable to form a belief as to the truth of these
allegations
153. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations
154. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations
155. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after

reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

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156. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

COUNT VI
(Eegligence - F ailure to Adequatelv Inspect (Restatement (Second) of Torts 8324A))
Against Defendant State of Delaware & State of Delaware (Department of Natural
Resources and Environmental Control)

157. This paragraph does not contain any allegations to which a response is required

158. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

159. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

160. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

161. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after

reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these

allegations

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COUNT VI

. (Gross Negligence)
Against Defendant State of Delaware & State of Delaware (Department of Natural

Resources and Environmental Control)

162. This paragraph does not contain any allegations to which a response is required

163. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

164. The allegations of this paragraph are not directed to Answering Defendant. To
the extent that there are factual allegations to which Answering Defendant must respond after
reasonable investigation, Answering Defendant is unable to form a belief as to the truth of these
allegations

COUNT X
(Negligent Iniliction of Emotional Distress)
Against All Defendants

165. This paragraph does not contain any allegations to which a response is required

166. The allegations of this paragraph are conclusions of law to which no response is
necessary. To the extent that this paragraph is deemed to contain factual averments to which a
response is required the same are denied

167. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

168. After reasonable investigation, Answering Defendant is unable to form a belief as
to the truth of these allegations

169. After reasonable investigation, Answering Defendant is unable to form a belief as

to the truth of these allegations

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AFFIRMATIVE DEFENSES

l. Plaintiffs Complaint fails to state a claim on which relief may be granted against
Answering Defendant.

2. Plaintiff’s claims may be barred by the applicable statute of limitations and the
doctrine of latches.

3. Plaintiff s claims may be barred in whole or part by the doctrines of waiver and
estoppel

4. MEA provided volunteers to act under the sole direction and supervision of the

World Championship Punkin’ Chunkin’ Association, MEA did not conduct the event, and had

no authority or responsibility to dictate any terms of the operation of the event.

5. Answering Defendant acted in a reasonable, lawful and appropriate manner at all
relevant times
6. Answering Defendant did not act negligently in any way, and did 'not breach any

standard of care owed to Plaintiff.
7. Plaintiff has failed to mitigate her damages if any.

8. The sole proximate cause of any injury sustained by the plaintiff was caused in
whole or in part by the conduct of other individuals or entities over whom Answering Defendant

exercises no control and for whom Answering Defendant bears no responsibility
9. MEA did not engage in or participate in any ultra-hazardous activity.

lO. Plaintiff was fully aware of the risks associated with her voluntary participation in

the event and assumed all such risks

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ll. On information and belief, Plaintiff voluntarily signed a waiver of all claims for

injuries that occurred during the course of the event

12. On information and belief, Plaintiff failed to use ordinary care and caution under
the circumstances failed to maintain an appropriate level of awareness and alertness in light of
the nature of the event, failed into heed warnings and to maintain a proper lookout during the
shooting of the machine in question, which negligence or carelessness caused or contributed to
her injuries Accordingly, Plaintiff’s claims may be barred or reduced pursuant to 10 De. C. §

8132.

13. Defendant reserves the right to assert any and all defenses uncovered through

discovery.

WHEREFORE, for all the foregoing reasons, Defendant McCulley Eastham and
Associates, Inc. respectfully requests that judgment be entered in its favor and against plaintiff
on all counts of Plaintiff’ s Complaint directed to it and for such other and further relief as this
court deems proper.

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CROSS CLAIM COUNT I - BREACH OF CONTRACT
DEFENDANTS WORLD CHAMPIONSHIP PUNKIN’ CHUNKIN’ INC. and
THE PUNKIN CHUNKIN ASSOCIATION

l. Defendants World Championship Punkin’ Chunkin’ lnc., and/or the Punkin’
Chunkin’ Association, operating under the acronym “WCPCA,” entered into a contract with
MEA pursuant to which MEA agreed to “provide 5 safety professionals for the 2016 event under

the direction of the WCPCA.”

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2. ‘ The agreement specifically required WCPCA to defend and indemnify MEA for
any claims arising from MEA’s services under the Agreement and to name l\/lea as an additional
insured on WCPCA’s insurance policies for this event.

3. Specifically, the contract states:

LlABlLlTY

ln no event shall McCulley, Eastham & Associates, Inc. be liable to the WCPCA for any
special, indirect, incidental or consequential damages arising out of the services
performed hereunder. ln no event shall McCulley, Eastham & Associates, Inc.’s liability
under any claim made by the WCPCA exceed the price of the services in respect to which
damages are claimed . ..The WCPCA shall name McCulley, Eastham & Associates, Inc.,
as additional insured on~their policy for this event, and shall be held harmless for any and
all acts or damages that results in injury or death, directly or indirectly, or otherwise
claimed by any participant, spectator, or any other person, persons, or entity,
whomsoever they may be.

4. WCPCA secured multiple policies of insurance for the 2016 event from various
commercial insurers

5.4 ' WCPCA failed or refused to have MEA named as an additional insured on the
policies of insurance it obtained for the 2016 event.

6. ~ MEA notified the carriers of the policies obtained by WCPCA for the 2016 of the
claims against it and has tendered its defense and demanded indemnity for this action.

7. MEA has learned that WCPCA failed to have MEA named on its primary policy
of liability insurance, despite its contractual obligation to do so.

8. On information and belief, WCPCA failed to have MEA named on any of its
excess or umbrella policies of liability insurance; despite its contractual obligation to do so.

9. The WCPCA is also required to hold MEA harmless for all claims and damages

arising from the 2016 event.

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10. MEA has tendered its defense and demanded indemnity from the WCPCA for this
action. WCPCA has failed and/or refused to assume MEA’s defense in this action or to insure

that it will be indemnified and held harmless against plaintiffs claims

'WHEREFORE, for all the foregoing reasons Defendant McCulley Eastham and
Associates, Inc. respectfully requests that judgment be entered in its favor and against
Defendants World Championship Punkin’ Chunkin’ Inc., and the Pinkin’ Chunkin’ Association
for indemnity and contribution in an amount to be determined at trial, and for all of its costs and
attorney’s fees incurred in this action, and for such other and further relief as this court deems

proper.

CROSS CLAIM COUNT ll
INDEMNITY AND CONTRIBUTION AGAINST ALL CO-DEFENDANTS

ll. MEA incorporates by reference all of its previous answers and Cross claim
allegations as though fully set forth herein.

12. MEA denies that it is liable to the Plaintiff in any way. However, to the extent that
MEA is found liable to the plaintiff, then MEA would be entitled to contribution from all other
defendants in accordance with 10 Del. C. §6301, et. seq., in such proportionate share as their

relative degree of fault, if any, which should be determined at trial.

WHEREFORE, for all the foregoing reasons Defendant McCulley, Eastham and
Associates, Inc. respectfully requests th_at judgment be entered in its favor and against all other
Defendants that they are solely liable to Plaintiff or are liable to McCulley, Eastham and
Associates, lnc. for indemnity and contribution,~ including costs and attorney’s fees and for such

other and further relief as this Court deems just and proper.

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ANSWER TO ALL CROSS CLAIMS
MEA denies every allegations of all cross claims of any defendant that have been filed or

that may be filed in the future.

SALMON RICCHEZZA SlNGER & TURCHI LLP

/s/ Sallv J. Daughertv

Sally J. Daugherty, Esq.

DE Bar 5473

222 Delaware Avenue

llth Floor

Wilmington, DE 19801

Attorney for Defendant McCulley, Eastham
& Associates, lnc.

Dated: October 13, 2017

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